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  UNITED STATES DISTRICT COURT FOR THE
  DISTRICT OF NEW JERSEY
  --------------------------------------------------------------------
  JULIE A. SU, Acting Secretary of Labor, United States :
  Department of Labor,
                                                                       :
                                    Plaintiff,
                            v.                                         :
                                                                           No. 2:20-CV-17785 (KM) (ESK)
  ERNIE’S AUTO DETAILING INC. and ERNESTO                              :
  DECENA a/k/a BUENAVENTURA E. DECENA,
  individually,                                                        :

                                    Defendants.                        :
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                                      CERTIFICATE OF SERVICE

         I hereby certify that on May 11, 2023, I electronically filed a copy of the Secretary’s

 Notice of Application for Default Judgment, Memorandum of Law in Support of the Application

 for Default Judgment, Declaration of Aristoteles Rodriguez with accompanying exhibits 1-15,

 and Proposed Judgment with the Clerk of the District Court using the CM/ECF system, which

 sent notification of such filing to the attorneys of record.


 Dated: May 11, 2023
        New York, New York

                                                                       /s/ Amy Tai
                                                                       AMY TAI
